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1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2    ERIC V. KERSTEN, Bar #226429
     Assistant Federal Defender
3    Branch Chief, Fresno Office
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
6                            IN THE UNITED STATES DISTRICT COURT
7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9     UNITED STATES OF AMERICA,                  )   Case No. 1:15-CR-00288 LJO-SKO
                                                 )
10          Plaintiff,                           )   APPLICATION AND [PROPOSED]
                                                 )   ORDER APPOINTING pro hac vice CJA
11    vs.                                        )   COUNSEL
                                                 )
12    JORGE MARTINEZ, JR.,                       )
                                                 )
13          Defendant,                           )
                                                 )
14                                               )
15          Defendant, Jorge Martinez, Jr., through the Federal Defender for the Eastern District of
16   California asks the Court to hereby appoint Kevin G. Little as pro hac vice CJA counsel,
17
     pursuant to 18 U.S.C. § 3006A(a)(1) and (c) and General Order No. 595 (appointing the federal
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     defender to, among other things, represent any defendant who was previously determined to have
19
     been entitled to appointment of counsel to determine whether a defendant may qualify for relief
20
21   under the compassionate release provision of the First Step Act).

22          Mr. Martinez contacted Kevin G. Little in regards to Appointment for Compassionate

23   Release Motion. This request is made because Mr. Little represented defendant on his previous
24
     criminal charges and is willing to continue representation as pro hac vice CJA counsel. Mr.
25
     Martinez was sentenced on June 26, 2017 to 50 month’s imprisonment with 36 months of
26
     Supervised Release upon his release and is still currently in custody.
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1           There is urgency to this request given the significantly heightened risk of remaining in
2    custody during the global pandemic. Therefore, it is respectfully recommended that pro hac vice
3
     CJA counsel be promptly appointed.
4
5
            DATED: April 17, 2020                                /s/ Eric V. Kersten
6                                                         ERIC V. KERSTEN
7                                                         Assistant Federal Defender
                                                          Branch Chief, Fresno Office
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1                                         ORDER
2           Having satisfied the Court that the defendant is financially unable to retain counsel, the
3    Court hereby appoints pro hac vice counsel pursuant to 18 U.S.C. § 3006A.
4
5
                   17 2020
     DATED: April _____,
6                                                 HONORABLE BARBARA A. MCAULIFFE
7                                                 UNITED STATES DISTRICT JUDGE

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